     Case 1:21-cv-00217-HSO-BWR      Document 157      Filed 06/05/24    Page 1 of 13




                IN THE UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                         SOUTHERN DIVISION

CATINA PARKER, as Personal                                                PLAINTIFF
Representative of the Estate of
Leonard Parker, Jr., deceased


v.                                                  Civil No. 1:21-cv-217-HSO-BWR


CITY OF GULFPORT, as a municipal
corporation;
JASON CUEVAS, in his individual
and official capacities; and
JOHN DOE OFFICERS 1-5, in their
official and individual capacities                                      DEFENDANTS

 MEMORANDUM OPINION AND ORDER DENYING DEFENDANT JASON
CUEVAS’S MOTION [132] FOR SUMMARY JUDGMENT ON THE BASIS OF
                     QUALIFIED IMMUNITY

        BEFORE THE COURT is Defendant Jason Cuevas in his individual

capacity’s Motion [132] for Summary Judgment, which seeks dismissal of Plaintiff

Catina Parker’s claims against him on the basis of qualified immunity. Having

considered the parties’ submissions, the record, and relevant legal authority, and

because the Court finds that there are material questions of fact precluding

summary judgment, the Motion [132] must be denied.

                                  I. BACKGROUND

        In her Third Amended Complaint [141] Plaintiff Catina Parker, as personal

representative of the Estate of Leonard Parker, Jr. (“Plaintiff”), raises a variety of

claims against Defendants the City of Gulfport, Mississippi, Jason Cuevas, in his

individual and official capacities, and John Doe Officers 1-5, in their official and
  Case 1:21-cv-00217-HSO-BWR         Document 157      Filed 06/05/24    Page 2 of 13




individual capacities. These include claims under 42 U.S.C. § 1983 against

Defendant Jason Cuevas (“Defendant” or Officer Cuevas”), a police officer of the

Gulfport Police Department, for excessive force in violation of the United States

Constitution arising out of an encounter in Gulfport, Mississippi, on February 1,

2020, between Officer Cuevas and Leonard Parker, Jr. (“Mr. Parker”). See 3d Am.

Compl. [141].

      The undisputed facts establish that on February 1, 2020, Mr. Parker was

attending a party at a private residence in Gulfport. Id. at 2; Answer [146] at 12. He

and another individual left in Mr. Parker’s vehicle, with Mr. Parker driving. 3d Am.

Compl. [141] at 3; Answer [146] at 13. Mr. Parker reversed out of the driveway and

began driving on 25th Street. 3d Am. Compl. [141] at 5; Answer [146] at 15. At the

same time Officer Cuevas, who was responding to a call of disorderly conduct, was

approaching the residence on foot. Mem. [133] at 3; Resp. [154] at 25. Officer

Cuevas shot Mr. Parker, who later died. Mem. [133] at 5; Resp. [154] at 3.

      Plaintiff alleges that Officer Cuevas at no point reasonably believed that

either he or any other individual was in danger of death or serious bodily harm and

that he used excessive force in shooting Mr. Parker. 3d Am. Compl. [141] at 5-9. She

asserts that when Officer Cuevas fired his weapon, Mr. Parker’s vehicle was angled

away from him and the “truck’s engine never picked up, made a ‘vroom’ sound, or

made any other sound that would indicate it was accelerating.” Id. at 7. According

to the Third Amended Complaint [141], neither Officer Cuevas, nor any other

individual, was standing in the vehicle’s path at the time. Id. at 7-8. Plaintiff claims



                                           2
  Case 1:21-cv-00217-HSO-BWR           Document 157     Filed 06/05/24   Page 3 of 13




that Officer Cuevas was aware of these alleged facts, and did not have probable

cause to believe Mr. Parker posed a significant threat of death or physical injury. Id.

at 6-9.

          Officer Cuevas denies these allegations and contends that, at the time he

fired his weapon, Mr. Parker was operating his vehicle in a manner which

constituted a threat of harm or death. Answer [146] at 20. Officer Cuevas claims

that he was in the vehicle’s path, and that he gave Mr. Parker multiple commands

to stop as the vehicle was traveling towards him, but that Mr. Parker did not do so.

Id. at 5.

          On April 19, 2022, Officer Cuevas filed a Motion [34] to Assert an Affirmative

Defense of Qualified Immunity, which the Court granted. See Order [45]. The Court

also granted Plaintiff’s Motion [36] to Conduct Limited Discovery, narrowly tailored

to the issue of qualified immunity, which concluded on September 29, 2023. See id.;

Order [126].

          Upon the conclusion of this limited discovery, on October 16, 2023, Defendant

Officer Cuevas filed the present Motion [132] for Summary Judgment on the basis

of qualified immunity. See Motion [132]. Officer Cuevas asserts that the physical

evidence shows Mr. Parker’s truck was moving towards him and that he attempted

to “get out of the way[,]” but because Mr. Parker’s “truck continued to follow him[,]”

Mem. [133] at 18; see also Cuevas Dep. Tr. [132-5] at 44, he “perceived that he was

in immediate danger of harm” when he fired his weapon, Mem. [133] at 18; see also

Cuevas Dep. Tr. [132-5] at 65. Officer Cuevas maintains he gave multiple



                                             3
  Case 1:21-cv-00217-HSO-BWR         Document 157      Filed 06/05/24    Page 4 of 13




commands for Mr. Parker to stop, which were not heeded, Mem. [133] at 18, and

that under Fifth Circuit precedent, an officer is entitled to qualified immunity

under such circumstances, id. at 19-23. Defendant offers “the testimony of Cuevas,

the physical evidence collected on the scene, the testimony of Investigator [Brandon]

Teates, the affidavit testimony of [Michelle Desroche], the ballistics experts, and the

initial . . . statements of Tremaine Markray” as evidence in support of his Motion

[132]. Id. at 21; see, e.g., Cuevas Dep. Tr. [132-5]; Teates Dep. Tr. [132-9]; Desroche

Aff. [132-12]; Mississippi Bureau of Investigation Scene Photos [132-14]; Mississippi

Bureau of Investigation Garage Photos [132-15]; Markray Interview Audio [132-17].

      Plaintiff responds that Officer Cuevas is not entitled to qualified immunity

because he “fired his weapon at Parker after the truck had come to a full stop[,]”

Resp. [154] at 8 (emphasis in original omitted); see also Baldwin Dep. Tr. [154-1] at

9, 24, 30; Jackson Dep. Tr. [154-4] at 7; Owens Dep. Tr. [154-5] at 10, 16; McNair

Dep. Tr. [154-6] at 5-7, and that “[t]he truck did not drive, move, or ‘track’ towards

Cuevas at any time[,]” Resp. [154] at 9 (emphasis in original omitted); Owens Dep.

Tr. [154-5] at 21. She contends that “Cuevas was standing to the north side of the

truck and not immediately in front of the truck when he opened fire on Parker[,]”

Resp. [154] at 10 (emphasis in original omitted); see also Markray Dep. Tr. [154-2]

at 25-26, and the truck never made any sound that would indicate it was

accelerating, Resp. [154] at 10; see also Baldwin Dep. Tr. [154-1] at 39-40. Plaintiff

asserts that Officer “Cuevas did not speak, give commands, or give Parker warning

prior to shooting.” Resp. [154] at 11 (emphasis in original omitted); see also Baldwin



                                           4
     Case 1:21-cv-00217-HSO-BWR        Document 157     Filed 06/05/24    Page 5 of 13




Dep. Tr. [154-1] at 9; Owens Dep. Tr. [154-5] at 11. In support of her factual

assertions, Plaintiff cites the sworn testimony of five eyewitnesses. Resp. [154] at 8-

11; see also Baldwin Dep. Tr. [154-1]; Markray Dep. Tr. [154-2]; Jackson Dep. Tr.

[154-4]; Owens Dep. Tr. [154-5]; McNair Dep. Tr. [154-6]. Plaintiff contends that,

construing the evidence in her favor at summary judgment, Officer Cuevas “violated

clearly established law[,]” Resp. [154] at 33-39 (emphasis in original omitted), and

that summary judgment cannot be granted because “[t]here are too many questions

of fact in this matter” and those facts “construed in the light most favorable to the

Plaintiff allow a jury to find that Cuevas[’s actions were] objectively

unreasonable[,]” id. at 39-41. She further contends Defendant improperly asks the

Court to resolve “each factual inference in his favor and craft[] a story that would

have justified his use of force[,]” which “would be reversible error.” Id. at 41 (citing

Cole v. Carson, 935 F.3d 444, 452 (5th Cir. 2019), as revised (Aug. 21, 2019) (en

banc)).

        In his Reply [155], Defendant argues that Plaintiff’s witnesses are not

credible because they “were not located in the front of the truck with headlights

facing them[,]” Reply [155] at 11, and they “were likely intoxicated” at the time they

observed the shooting, id. at 2-3.

                                     II. DISCUSSION

A.      Summary judgment and qualified immunity

        Summary judgment is appropriate “if the movant shows that there is no

genuine dispute as to any material fact and the movant is entitled to judgment as a



                                            5
  Case 1:21-cv-00217-HSO-BWR           Document 157       Filed 06/05/24    Page 6 of 13




matter of law.” Fed. R. Civ. P. 56(a). The movant bears the “the initial burden of

informing the district court of the basis for its motion, and identifying those

portions of the record which it believes demonstrate the absence of a genuine issue

of material fact.” Taita Chem. Co. v. Westlake Styrene Corp., 246 F.3d 377, 385 (5th

Cir. 2001) (quotations omitted).

       If any genuine dispute of material fact exists “that a trier of fact may

reasonably resolve in favor of either party, then summary judgment must be

denied.” Ryder v. Union P. R.R. Co., 945 F.3d 194, 199 (5th Cir. 2019) (citing

Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 255 (1986)). A court must “view the

evidence in the light most favorable to the nonmovant and construe all reasonable

inferences in her favor” and “may not evaluate the credibility of the witnesses,

weigh the evidence, or resolve factual disputes.” Guzman v. Allstate Assurance Co.,

18 F.4th 157, 160 (5th Cir. 2021) (quotations omitted). “The sole question is whether

a ‘reasonable jury drawing all inferences in favor of the nonmoving party could

arrive at a verdict in that party’s favor.’” Id. (quoting Int’l Shortstop, Inc. v. Rally’s,

Inc., 939 F.2d 1257, 1263 (5th Cir. 1991)). “[M]ere conclusory allegations are not

competent summary judgment evidence, and such allegations are insufficient,

therefore, to defeat a motion for summary judgment.” Eason v. Thaler, 73 F.3d

1322, 1325 (5th Cir. 1996) (per curiam). “Rather, the party opposing summary

judgment is required to identify specific evidence in the record and to articulate

precisely how this evidence supports his claim.” RSR Corp. v. Int’l Ins. Co., 612 F.3d

851, 858 (5th Cir. 2010).



                                             6
  Case 1:21-cv-00217-HSO-BWR          Document 157      Filed 06/05/24    Page 7 of 13




      “[A] good-faith assertion of qualified immunity alters the usual summary

judgment burden of proof, shifting it to the plaintiff to show that the defense is not

available.” Orr v. Copeland, 844 F.3d 484, 490 (5th Cir. 2016) (quotations omitted).

To show qualified immunity is not available, the plaintiff must demonstrate that

the defendant’s conduct was “objectively unreasonable in light of a clearly

established rule of law.” Vincent v. City of Sulphur, 805 F.3d 543, 547 (5th Cir.

2015). “Qualified immunity protects government officials ‘from liability for civil

damages insofar as their conduct does not violate clearly established statutory or

constitutional rights of which a reasonable person would have known.’” Lytle v.

Bexar Cnty., Tex., 560 F.3d 404, 409 (5th Cir. 2009) (quoting Harlow v. Fitzgerald,

457 U.S. 800, 818 (1982)).

      A court conducts the qualified immunity inquiry in two parts, first asking

“whether the officer’s alleged conduct has violated a federal right[,]” and second,

“whether the right in question was ‘clearly established’ at the time of the alleged

violation, such that the officer was on notice of the unlawfulness of his or her

conduct.” Cole, 935 F.3d at 451 (citation omitted). “The officer is entitled to qualified

immunity if there is no violation, or if the conduct did not violate law clearly

established at the time.” Id. “In qualified immunity cases, ‘[t]he plaintiff must show

that there is a genuine dispute of material fact and that a jury could return a

verdict entitling the plaintiff to relief.’” Edwards v. Oliver, 31 F.4th 925, 929 (5th

Cir. 2022) (quoting Joseph on behalf of Est. of Joseph v. Bartlett, 981 F.3d 319, 330

(5th Cir. 2020)). “But, to overcome qualified immunity, the plaintiff's version of



                                            7
     Case 1:21-cv-00217-HSO-BWR       Document 157      Filed 06/05/24    Page 8 of 13




those disputed facts must also constitute a violation of clearly established law.”

Bartlett, 981 F.3d at 330.

B.      Excessive force claims under § 1983

        Here, Plaintiff alleges that Defendant used unconstitutionally excessive force

against Mr. Parker. To establish this claim, she must show there was an “(1) injury,

(2) which resulted directly and only from a use of force that was clearly excessive,

and (3) the excessiveness of which was clearly unreasonable.” Deville v. Marcantel,

567 F.3d 156, 167 (5th Cir. 2009) (quotations omitted). “Excessive force claims are

necessarily fact-intensive; whether the force used is ‘excessive’ or ‘unreasonable’

depends on ‘the facts and circumstances of each particular case.’” Id. (quoting

Graham v. Connor, 490 U.S. 386, 396 (1989)).

        The question before the Court is whether, construing the facts in Plaintiff’s

favor as nonmovant, a reasonable jury could conclude that Officer Cuevas’s use of

force was excessive and unreasonable under clearly established Fifth Circuit

precedent at the time of the incident. In Tennessee v. Garner, the Supreme Court of

the United States held that “[w]here the officer has probable cause to believe that

the suspect poses a threat of serious physical harm, either to the officer or to others,

it is not constitutionally unreasonable to . . . us[e] deadly force.” 471 U.S. 1, 11

(1985); see also Romero v. City of Grapevine, Texas, 888 F.3d 170, 176 (5th Cir.

2018) (“The use of deadly force violates the Fourth Amendment unless ‘the officer

has probable cause to believe that the suspect poses a threat of serious physical

harm, either to the officer or to others.’” (quoting Garner, 471 U.S. at 11)); Manis v.



                                            8
  Case 1:21-cv-00217-HSO-BWR          Document 157      Filed 06/05/24    Page 9 of 13




Lawson, 585 F.3d 839, 843 (5th Cir. 2009) (“An officer’s use of deadly force is not

excessive, and thus no constitutional violation occurs, when the officer reasonably

believes that the suspect poses a threat of serious harm.”).

      In applying Garner, the Fifth Circuit has held that it is objectively reasonable

for an officer to fire his weapon when a vehicle “accelerate[s] towards him[.]”

Hathaway v. Bazany, 507 F.3d 312, 323 (5th Cir. 2007); see also Sanchez v.

Edwards, 433 F. App’x 272, 275-76 (5th Cir. 2011) (per curiam) (holding that an

officer was objectively reasonable “in his perception of a threat of serious physical

harm” when a vehicle accelerated towards him after the driver ignored “numerous

commands from the officers to bring his vehicle to a stop”). The Fifth Circuit has

highlighted that any analysis must account “for the fact that police officers are often

forced to make split-second judgments—in circumstances that are tense, uncertain,

and rapidly evolving—about the amount of force that is necessary in a particular

situation.” Hathaway, 507 F.3d at 320-21 (quotations omitted).

      However, prior to February 1, 2020, the Fifth Circuit had also clearly

established that when a vehicle poses no serious risk of harm to an officer or others,

it is objectively unreasonable for the officer to use lethal force. Lytle, 560 F.3d at

416-17. For example, in Baker v. Putnal, the Fifth Circuit reversed a district court’s

grant of summary judgment on the basis of qualified immunity where an officer

shot the driver of a stationary vehicle. 75 F.3d 190, 198-99 (5th Cir. 1996). The Fifth

Circuit highlighted that under the plaintiff’s version of the facts–that the officer

issued no commands to the driver, the driver “barely had an opportunity to see [the



                                            9
 Case 1:21-cv-00217-HSO-BWR          Document 157       Filed 06/05/24   Page 10 of 13




officer] before [the officer] fired his gun[,]” the driver took no threatening action

towards the officer, and the officer was not standing in front of the vehicle–a grant

of qualified immunity at the summary judgment stage was improper. Id.; see also

Lytle, 560 F.3d at 416-17.

      In sum, the question of whether Defendant is entitled to qualified immunity

turns upon which set of facts are taken as true. A review of relevant authority

reveals that if Defendant’s version of events is true, under clearly established law

he would likely be entitled to qualified immunity. This is because under the

circumstances he asserts–that Mr. Parker ignored multiple commands to stop, that

Officer Cuevas attempted to get out of the way, and that Mr. Parker accelerated

towards him–it was objectively reasonable for Officer Cuevas to perceive the vehicle

as a serious threat of harm, such that discharging his weapon was not excessive

force under clearly established law at the time. See Hathaway, 507 F.3d at 323.

      Conversely, under Plaintiff’s set of facts, if true, the opposite result likely

obtains; that is, the use of force was unreasonable and excessive to the need, such

that Officer Cuevas would not be entitled to qualified immunity. Because the Court

must accept Plaintiff’s version of the facts as true at the summary judgment stage,

Guzman, 18 F.4th at 160, and the factual disputes here are material, it cannot

grant summary judgment, see Oliver, 31 F.4th at 929-32.

      In Oliver, the Fifth Circuit affirmed a district court’s denial of summary

judgment under similar circumstances. See id. Oliver arose out of an April 29, 2017,

shooting, where the parties disputed whether a vehicle accelerated towards the



                                           10
 Case 1:21-cv-00217-HSO-BWR           Document 157      Filed 06/05/24    Page 11 of 13




officer and whether the officer was in the vehicle’s path before firing into the

vehicle, killing a passenger. Id. at 928. The Fifth Circuit held that “the resolution of

this factual dispute is material because it affects both whether [the officer’s] use of

force was reasonable and whether the force he used violated clearly established

law.” Id. at 930. Summary judgment was inappropriate in that case because “if a

jury accepts Plaintiffs’ version of the facts as true, particularly as to what occurred

in the moments before [the officer] shot at the car, the jury could conclude that the

officers violated Plaintiffs’ clearly established right to be free from excessive force.”

Id. at 932 (alterations in original and quotations omitted). Likewise, in Putnal, the

Fifth Circuit reversed a grant of summary judgment on the basis of qualified

immunity, because it was disputed whether the officer issued commands to the

driver and whether the driver was pointing a firearm at the officer. Putnal, 75 F.3d

at 198-99.

      The same reasoning applies here. Among the facts in dispute are whether

Officer Cuevas was in the path of the vehicle before the shooting, whether the

vehicle accelerated towards him, whether Officer Cuevas identified himself as a

police officer, and whether he gave verbal commands to Mr. Parker to stop. See

Mem. [133] at 18-21; Resp. [154] at 8-11. Officer Cuevas has submitted evidence to

support his version of events. See Cuevas Dep. Tr. [132-5]; Teates Dep. Tr. [132-9];

Desroche Aff. [132-12]; Mississippi Bureau of Investigation Scene Photos [132-14];

Mississippi Bureau of Investigation Garage Photos [132-15]; Markray Interview

Audio [132-17]. In opposition, Plaintiff proffers the testimony of five eyewitnesses



                                            11
 Case 1:21-cv-00217-HSO-BWR         Document 157     Filed 06/05/24   Page 12 of 13




testifying that: the vehicle did not move towards Officer Cuevas at any time; Officer

Cuevas was not in front of the vehicle when he fired upon it; Officer Cuevas fired

his weapon at Mr. Parker after the vehicle came to a complete stop; the vehicle

never made a “vroom” sound indicating that it was accelerating; and Officer Cuevas

did not give any verbal commands prior to firing. See Resp. [154] at 8-11; Baldwin

Dep. Tr. [154-1]; Markray Dep. Tr. [154-2]; Jackson Dep. Tr. [154-4]; Owens Dep.

Tr. [154-5]; McNair Dep. Tr. [154-6]. If accepted as true, a jury could reasonably

find that Officer Cuevas acted in violation of clearly establish law. Arguments that

these witnesses are not credible are of no moment at the summary judgment stage,

Guzman, 18 F.4th at 160, because the Court cannot evaluate the credibility of

witnesses or weigh the evidence, id. Because “[t]here are simply too many factual

issues to permit [Plaintiff’s] § 1983 claims to be disposed of on summary

judgment[,]” Defendant’s Motion [132] for Summary Judgment on the basis of

qualified immunity must be denied. Putnal, 75 F.3d at 198.

                                 III. CONCLUSION

      To the extent the Court has not addressed any of the parties’ remaining

arguments, it has considered them and determined that they would not alter the

result. Because material fact questions remain for resolution, Defendant Jason

Cuevas in his individual capacity’s Motion [132] for Summary Judgment on the

basis of qualified immunity must be denied.




                                          12
 Case 1:21-cv-00217-HSO-BWR        Document 157     Filed 06/05/24   Page 13 of 13




      IT IS, THEREFORE, ORDERED AND ADJUDGED that, Defendant

Jason Cuevas in his individual capacity’s Motion [132] for Summary Judgment on

the basis of qualified immunity is DENIED.

      IT IS, FURTHER, ORDERED AND ADJUDGED that, the stay of

discovery pending a determination on qualified immunity is LIFTED, and the

parties are to contact the Magistrate Judge within 14 days to schedule a case

management conference.

      SO ORDERED AND ADJUDGED, this the 5th day of June, 2024.


                                             s/ Halil Suleyman Ozerden
                                             HALIL SULEYMAN OZERDEN
                                             UNITED STATES DISTRICT JUDGE




                                        13
